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                                                                                         FILED
                              UNTED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA                  |SEP j 0 2019
                                      Newport News Division
 JAMES T.PARKER,II and                                                           CLtHK, u.s. district court
 DEBRA L.Parker;                                                          '
                Plaintiffs,
 V.                                                           Civil Action No.: 4:18cv00140

 FREEDOM MORTGAGE
 CORPORATION,et aL,

                Defendants.


      ORDER GRANTING CONSENT MOTION FOR ENLARGEMENT OF TIME TO
         RESPOND TO DEFENDANT'S MOTION FOR SUMMARY.RTDGMENT


        This matter is before the Court on a motion by Plaintiffs James T. Parker II and Debra L.

 Parker, by Counsel,for an enlargement oftime to file their opposition brief to Defendant Freedom

 Mortgage Corporation's Motion for Summary Judgment(ECF 39). Freedom has consented to the

 Motion, provided that Freedom's Motion is still timely and can be heard by the Court prior to trial.

 Upon consideration of the pleadings and the representations of the Parties through Counsel, this

 Motion is hereby GRANTED,and it is hereby

        ORDERED that the deadline by which Plaintiffs are to file their opposition to Freedom's

 Motion for Summary Judgment is enlarged from September 30,2019 to October 4,2019.

        ENTERED this               of September,2019.
                                                                           /s/
                                                          Flenry Coke Morgan, Jr.
                                                          Senior United States District Judge
                                                             Henry Coke Morgan, Jr.
                                                      Senior United States District Judge
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